r_____n_,_e_\

Case lMoth&GMTMADGGMMQMB&UEHQGMB{MEL PM@~]C P@Q{SZ

 

1.CiRJ1)iST./Div CoDi:
TNW

 

z PERSON REPRESENTno
Moore, Bii|y Wayne

VOUCHER NUMIBER

 

 

3. MAG. DKT.'DEF. NUM.BER

4. nisT. Di<'r..roi~:i‘. NUMBER
|:04-0 l 0050-001

5. A.I’FEALS DKT.IDEF. NUM.BER 6. OTH`ER DKT. NUMBER

 

i. m cAsE/MATTER 01=
U.S. v. Moore

[Cale Name]

 

ii. PAYMENT CATEGOR¥
Felony

 

10. R.EP R.FSENTATION TYFE
(Se¢ liniructloiu)

Criminal Case

9. TYFE rizitsoN RF.Piu-:sn.mn
Adult Defendant

 

 

ll. OFFENSE(S) CH ARGED (Cite U. S. Cude, T|tle & Sei:'dim)

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l) 18 9226 F -- UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREAR.MS THROUGH IN'I`ERSTATE COMME RCE

 

12. A'I'I'ORNE¥' S NAME
ANDMAIL[NG ADD

MUELLER, IEFF
P.O. BOX 3146

Telepiiune N umber:

JACKSON TN 38303-3146

Sli'ei Name, M.l., Lnri Nnme, including any animal

 

1289 N. Hi
P.O. Box 3 46

 

Jacksori TN 38303-3146

14. NAME AND MAIL[NC ADDRESS OF LAW FIRM lonly provide per |ilatrui:tionn)

Muellcr and Ellis, PLC
land Avc

CATEGORIES (At'tecii itemization of services with dates)

 

  

 

13. COU'RT ORDER

|:\ 0 Appolntin¢ Coualel D C Co-Coiuue|
m F Subl For Federal Defnn¢lei' m ll Sube For Retn|ned Altorn¢y
|:! P 3qu Far l'aoel Aitoi'ney ij \' _Sinndhy Conneei

Pi‘ior Ailorney'n Nnri\o:
Appointmenl Dnte'.

|:i Be¢aiiie lee ndovHiamt-d pei-mn reprenenied ana tutined under oath C) --i--»
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Frei|dlng ludida| Oll'ieer or By Order of tie Court c;_’ U_, _;;3

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Repnyment or partial repa)ment ordered mill l|ie person repruented for ' 1 W"'
El Y`ES |:i NO

time oi' appoinan :._.{ .

 

    
  

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AnnmoNAi.
Ci.AoiMED AMOUNT MSTE%H RF.viEw

 

is. a. Arraignmeni and!or Plea

 

b. Bail and Detentioii Hearings

 

c. Motion Hearings

 

d. Tt'iai

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-f

 

e. Sentencing Heiirliigs

 

f. Revocation Hearinga

 

g. Appea|s Court

.-..`:¢n i=-

 

h. Other (Specify on additional sheet:)

 

(Raie per hour - $

)

TOTALS:

 

a. lnterviewr and Conl`erencer

 

b. Obtaiiiing and reviewing records

 

 

c. Legal research and brief writing

 

d. Travel time

 

 

e. lnvestigative and Other work

(Speelfy on additional amend

 

 

.-..`=¢n no .-»:Q=

(Rnt¢ per hour - 5

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mTA!.S:

 

 

i'.'. 'l'ravel Expenses

(lodglng, parking1 meali, mllenge, etc.)

 

 

iii. Other Expenses

 

{other than expert. transcripu, etc.)

 

 
  
 

   

     

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S|gnntiire of At\oriiey:

NO

 

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19. CERTIFICA'IION OF AT|"ORNEY.'PAYEE FOR THE PERIOD 0 F SERVICE 20. APPOINTMENT TERM|NAT|ON DATE 21. CASE DISPOSITION
ll" OT['IIZR TH.AN CASE COMPLET|DN
FROM 10 _
21. C LAlM STATUS 5 rim hyman El interim hymen Numb¢r ______ Eslj sup len-emi hym¢n¢
Have you previously applied lo the court for compensation an r remlmbiirunieni for tall ¢ne? |£NO |[yee, were you paid? i:l YES Ci NO

C|tiier than from the i:oim. have you. or toyoiir knowledge linn anyone niae, received payment (compenlntion or nnyth|n¢ or Nvalue) from any other source |n connection with illii
reprneotntiiin? m YES

l iwear oral'firm the truth or correctness of the above statementi.

 

 

 

23. lN COURT COMP.

24. OUT OF COURT COMP.

25. TRA\"EL EXPENSES

 

26. U'I'HER EXPENSES

27. TOTAL AMT. APPR! CERT

 

28. SIGNATURE OF THE PRES|DING .lUDlCl.AL OFF[CER

DATE

na. J`UDGE f MAG. JUDGE CODE

 

29. lN COURT COMP.

 

30. OUT OF COURT COM.I’. 3|.

 

TRAVEL EXPENSES

32. O'I'H`ER EXPENSES

33. TDTA.L A.MT. MPROVED

 

approved in exceu

 

34. SIGNATUR.E Ol" o(r`HlEI-` JUDGE, COURT OF APP EALS (OR DELEGATE) Paymeot
the statutory threliioid amount.

34a. JUDCE CODE
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DATE

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
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J eff Mueller

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Jackson7 TN 38303

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

